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                      UNITED STATES DISTRICT COURT
            FOR THE Northern District of Illinois − CM/ECF NextGen 1.7.1.1
                                 Eastern Division

Zafar Sheikh
                                  Plaintiff,
v.                                                      Case No.: 1:24−cv−00658
                                                        Honorable Martha M. Pacold
Bashir Chaudry, et al.
                                  Defendant.



                         NOTIFICATION OF DOCKET ENTRY



This docket entry was made by the Clerk on Monday, June 17, 2024:


        MINUTE entry before the Honorable Martha M. Pacold: Telephone motion
hearing held on 6/17/24. Plaintiff's motion to bar Gus Konstantine from dual
representations of defendants Nusrat Choudhry and Yakub Chaus creating serious conflict
of interests, [71], is denied for the reasons stated on the record. Defendants, Ali Chaudry,
Rabia Chaudry, Amjad Chaudry, Syed Jahantab, BCA Investments Inc., Shamaila Rafiq,
South Chicago One, Inc. and Quadir's LLC's motions to vacate the default and to adopt
the current motions to dismiss pending before this court [75], [77] are granted. The default
entered against these defendants on 5/8/24 [54] is hereby vacated. Defendants, Ali
Chaudry, Rabia Chaudry, Amjad Chaudry, Syed Jahantab, BCA Investments Inc.,
Shamaila Rafiq, South Chicago One, Inc. and Quadir's LLC's adopt the pending motions
to dismiss, [58], [60], [61]. Plaintiff's application to the Clerk of the District Court to enter
clerk's default, [65], is denied as moot. (rao, )




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